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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

CESILIA VANEGAS, et al.
Plaintiffs,
VS. Case No.: 15-cv-2298

DIAZ GRANADOS, INC., et al.

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Defendants. |
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DECLARATION OF CESILIA VANEGAS

I, Cesilia Vanegas, being over the age of 21 and having personal knowledge of the
facts stated herein, hereby testify as follows under penalties of perjury:

1. I am a named Plaintiff is the lawsuit referenced above.

2. I worked for Diaz Granados, Inc., as a server from August of 2010, until
this lawsuit was filed.

3. Francis J. Diaz managed Diaz Granados, Inc.

4. Mr. Diaz assigned the shifts, supervised my work, issued paychecks, and
managed my day-to-day job duties throughout my entire work history with Diaz
Granados, Inc.

5. As a server, I was required to work six days a week. On Friday, Saturday,
and Sunday I worked from 11:00 AM until 3:00 AM each shift. On Monday, Tuesday,
and Thursday I worked from 5:00 PM to 1:00 AM.

6. As a server, Mr. Diaz and Diaz Granados, Inc. paid me a weekly salary of
$215.00.

7. I was not paid any additional wages for overtime hours worked.
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8. I was also not permitted to take vacations or time off of work.

9. Therefore, in the three years prior to filing this lawsuit, | worked 156
weeks without overtime wages.

10. Diaz Granados, Inc. and Francis Diaz did not have employees who worked
shifts. All employees worked from open to close each day they were scheduled to work.

11. I personally know that Milena Acosta, Yendy Gonzales, and Ana Xiomara
Velasquez worked these same shifts.

12. Milena Acosta and Ana Xiomara Velasquez worked six days a week and
the same hours as I did.

13. | Yendy Gonzalez worked five days a week, including weekends. She
worked the same hours I did on those five days.

I HEREBY SWEAR under penalties of perjury pursuant to 28 U.S.C. § 1746 that

the above statements are true and correct.

So Sworn this: 4" day of November, 2015

 

Cesilia Vanegas
